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The following constitutes the ruling of the court and has the force and effect therein described.


Signed November 28, 2018
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION


      IN RE:                                        §     CASE NO. 18-43088-MXM-11
                                                    §
      DR. SHABNAM QASIM MD PA                       §
                                                    §
      DEBTOR(S)                                     §     CHAPTER 11

      ORDER APPROVING AMENDED APPLICATION TO EMPLOY ACCOUNTANT FOR
                          DEBTOR IN POSSESSION

         CAME NOW FOR CONSIDERATION, the application of, DR. SHABNAM QASIM MD
      PA, Debtor-In-Possession, for the authority to employ and appoint JAMES R. HALTER, CPA,
      as accountant. Upon the affidavit of the accountant, which was annexed to the application, it
      appears that no notice of hearing on the application should be given, and no adverse interest is
      represented, and it further appears that the accountant is a qualified CPA and that he is
      experienced to render the professional services described in the Motion. The Court being
      satisfied that the accountant represents no interest adverse to the estate in the matters upon which
      he will be to the best interests of the estate, it is therefore:

         ORDERED, ADJUDGED AND DECREED, that DR. SHABNAM QASIM MD PA, be
      and is hereby authorized to employ and appoint JAMES R. HALTER, CPA, to act as
      accountant, effective as of the petition date, in all matters arising in the case under Chapter 11 of
      the Bankruptcy Code, and is further authorized to pay said accountant a reasonable fee for his
      services upon application and order of this Court.
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                              ####END OF ORDER####

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